










Opinion issued June 17, 2010











In The
Court of Appeals
For The
First District of Texas




NO. 01–09–00746–CV




SUZANNE YARBROUGH, Appellant

V.

LARRY DON STATON, JR., Appellee




On Appeal from the 309th District Court
Harris County, Texas
Trial Court Cause No. 2005-63829




MEMORANDUM OPINIONAppellant Suzanne Yarbrough has failed to timely file a brief.  See Tex. R.
App. P. 38.8(a) (failure of appellant to file brief).  After being notified that this appeal
was subject to dismissal, appellant did not adequately respond.  See Tex. R. App. P.
42.3(b) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.
PER CURIAM
Panel consists of Justices Keyes, Hanks, and Higley.


